        Case 1:13-cv-04088-RWS Document 10 Filed 05/15/14 Page 1 of 8




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

DAYNA LILLY,
                                          CASE NO.: 1:13-CV-04088-RWS
      Plaintiff,

vs.

ELITE COMMUNICATIONS,
INC., and BYRAM SMITH,
Individually,

      Defendants.                     /

 JOINT MOTION FOR APPROVAL OF SETTLEMENT AND DISMISSAL
  WITH PREJUDICE AND INCORPORATED MEMORANDUM OF LAW

      Plaintiff, DAYNA LILLY (hereinafter “Plaintiff”), and Defendants, ELITE

COMMUNICATIONS, INC., and BYRAM SMITH (“Defendants”) (collectively

“the Parties”), jointly request that this Court approve the Parties’ settlement of the

above captioned matter. A copy of the settlement agreement executed between the

Parties is attached as Exhibit “A.”

      I.     Legal Principles and Analysis

      Pursuant to the case law regarding settlement of Fair Labor Standards Act

(“FLSA”) claims, there are two ways in which claims under the FLSA can be

settled and released by employees. First, section 216(c) of the FLSA allows

employees to settle and waive their claims under the FLSA if the payment of
        Case 1:13-cv-04088-RWS Document 10 Filed 05/15/14 Page 2 of 8




unpaid wages by the employer to the employee is supervised by the Secretary of

Labor. See 29 U.S.C. 216(c) of the FLSA; Lynn’s Food stores, Inc. v. United

States, 679 F.2d 1350, 1353 (11th Cir. 1982). Second, in the context of a private

lawsuit brought by an employee against an employer under section 216(b) of the

FLSA, an employee may settle and release FLSA claims against an employer if the

parties present the district court with a proposed settlement and the district court

enters a stipulated judgment approving the fairness of the settlement. Id.; see also

Sculte, Inc. v. Gandi, 328 U.S. 108, 66 S.Ct. 925, 928 n. 8, 90 L.Ed. 1114 (1946);

Jarrad v. Southeastern Shipbuilding Corp., 163 F.2d 960,961 (5th Cir. 1947). In

detailing the circumstances justifying court approval of an FLSA settlement in a

litigation context, the Eleventh Circuit has stated as follows:

      Settlements may be permissible in the context of a suit brought by
      employees under the FLSA for back wages because initiation of the
      action by the employees provides some assurance of an adversarial
      context. The employees are likely to be represented by an attorney
      who can protect their rights under the statute. Thus, when the parties
      submit a settlement to the court for approval, the settlement is more
      likely to reflect a reasonable compromise of disputed issues than a
      mere waiver of statutory rights brought by an employer’s
      overreaching. If a settlement in an employee FLSA suit does reflect a
      reasonable compromise over issues, such as FLSA coverage or
      computation of back wages that are actually in dispute, we allow the
      district court to approve the settlement in order to promote the policy
      of encouraging settlement of litigation.

Lynn’s Food Stores, 679 F.2d at 1354.


                                           2
        Case 1:13-cv-04088-RWS Document 10 Filed 05/15/14 Page 3 of 8




       The settlement of the instant action involves a situation in which the Court

may approve the Parties’ settlement to resolve the Plaintiff’s FLSA claims against

Defendants.     The proposed settlement arises out of an action brought by the

Plaintiff against an employer, which was adversarial in nature.          During the

litigation and negotiation of the settlement of this action, Plaintiff and Defendants

were both represented by experienced counsel.

       The Parties agree that the instant action involves disputed issues, including

primarily whether Plaintiff was misclassified as an independent contractor,

whether a two or three year statute of limitations applied, the number of overtime

hours allegedly worked by Plaintiff, and if overtime compensation was owed,

whether liquidated damages are appropriate.

       Plaintiff, who was a cable technician installing cable and satellite systems

for Defendants from August 2011 to June 2013, alleges that he worked overtime

hours but was not paid any overtime compensation in addition to his regular pay he

received per job completed. Defendant vehemently denies this allegation and

contends Plaintiff was at all times properly classified an independent contractor

and that his claim fails in its entirety.

       Defendants claim to have kept accurate time records which show Plaintiff

routinely did not work overtime hours on a weekly basis. Plaintiff contends that


                                            3
        Case 1:13-cv-04088-RWS Document 10 Filed 05/15/14 Page 4 of 8




these records are inaccurate since they do not include travel time between jobs,

time spent filling out paperwork, and time spent arriving at the office site each

morning to pick up equipment and assignments. However, to resolve this matter,

the Parties prepared damage hypotheticals by assuming additional hours per week

and calculating the overtime owed (assuming also for settlement purposes that

Plaintiff was even entitled to overtime). For instance, if 10 additional hours were

assumed each week of Plaintiff’s engagement to account for the travel and

paperwork time, then Plaintiff would have been owed $903.32 in overtime

compensation and liquidated damages. If 20 additional hours were assumed each

week of the engagement, then Plaintiff would have been owed $6,184.68 in

overtime compensation and liquidated damages.

      The Parties conducted a conference in preparing the Joint Preliminary

Report, exchanged discoverable information informally, and exchanged several

offers of settlement.    Plaintiff ultimately accepted Defendant’s most recent

settlement offer. Pursuant to the offer accepted, Plaintiff, DAYNA LILLY will

receive a total amount of $5,000.00 in damages, and the attorneys’ fees and costs

will be paid separately. The Parties agree this is a fair and reasonable settlement in

light of Defendants’ independent contractor defense, the factual discrepancies

between the Parties regarding the number of hours worked, the uncertainties of


                                          4
        Case 1:13-cv-04088-RWS Document 10 Filed 05/15/14 Page 5 of 8




trial, and Plaintiff’s desire to resolve this matter before trial.

       II.    Terms of Settlement

       A.     DAYNA LILLY. The parties have agreed to settle Plaintiff’s claims

for a total of $5,000.00. After settlement negotiations and analyzing the factual

and legal disputes, Plaintiff has agreed to accept the gross sum of $5,000.00 in

overtime compensation to resolve his claims in full.

       B.     ATTORNEY’S FEES/COSTS.                  Plaintiff’s counsel will receive

$3,500.00, in attorney’s fees and costs.           The parties have agreed this is a

reasonable fee under the circumstances of this case, and was negotiated separately

from Plaintiff’s recovery and without regard to the amount of Plaintiff’s recovery.

See Bonetti v. Embarq Management Company, 715 F.Supp.2d 1222, 1228 (M.D.

Fla. 2009).

       C.     Defendants do not admit fault or liability.

       III.   Conclusion

       The Parties jointly and respectfully request that this Court approve the

settlement agreement of the Parties, and dismiss the instant action with prejudice.

Attached is a proposed Order for the Court’s convenience.

       May 12, 2014.

/s/ C. Ryan Morgan                               /s/ TODD H. STANTON
C. Ryan Morgan, Esq.                             Todd H. Stanton, Esq.

                                             5
      Case 1:13-cv-04088-RWS Document 10 Filed 05/15/14 Page 6 of 8




Georgia Bar No. 711884                  Georgia Bar No.675425
Morgan & Morgan, P.A.                   Stanton Law, LLC
20 N. Orange Ave., 14th Floor           1579 Monroe Drive
Orlando, FL 32802-4979                  Suite F206
Telephone: (407) 420-1414               Atlanta, GA 30324
Facsimile: (407) 245-3401               Telephone: (404) 881-1288
Email: rmorgan@forthepeople.com         E-mail:
Attorneys for Plaintiff                 todd.stanton@stantonlawllc.com
                                        Attorneys for Defendants




                                    6
       Case 1:13-cv-04088-RWS Document 10 Filed 05/15/14 Page 7 of 8




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

DAYNA LILLY,
                                      CASE NO.: 1:13-CV-04088-RWS
      Plaintiff,

vs.

ELITE COMMUNICATIONS,
INC., and BYRAM SMITH,
Individually,

      Defendants.                /

             CERTIFCATE OF COMPLIANCE WITH L.R. 5.1B

      I HEREBY CERTIFY that the foregoing document was prepared in Times

New Roman, 14-point font, as approved by Local Rule 5.1b.

                                     /s/ TODD H. STANTON
                                     Todd H. Stanton




                                       7
        Case 1:13-cv-04088-RWS Document 10 Filed 05/15/14 Page 8 of 8




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

DAYNA LILLY,
                                       CASE NO.: 1:13-CV-04088-RWS
      Plaintiff,

vs.

ELITE COMMUNICATIONS,
INC., and BYRAM SMITH,
Individually,

      Defendants.                 /

                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on May 12, 2014 I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will

send a notice of electronic filing to the following: C. Ryan Morgan, Attorney for

Plaintiff.


                                      /s/ TODD H. STANTON
                                      Todd H. Stanton




                                        8
